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                        United States Court of Appeals
                                  FOR T HE D ISTRICT OF C OLUMBIA C IRCUIT
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No. 23-5111                                                            September Term, 2022
                                                                                   1:19-cv-02316-RC

                                                           Filed On: May 23, 2023 [2000452]

David Alan Carmichael and Lawrence Donald
Lewis,

                   Appellants

William Pakosz,

                   Appellee

         v.

Antony J. Blinken, in his official capacity as
Secretary of State, of the United States of
America and United States of America,

                   Appellees


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Consolidated with 23-5113

                                               ORDER

       It is ORDERED, on the court's own motion, that these cases be consolidated.
Appellant in case No. 23-5113 is directed to file the following document(s) by the indicated
date(s):

          Docketing Statement Form                                             June 22, 2023

          Statement of Issues to be Raised                                     June 22, 2023

                                                                   FOR THE COURT:
                                                                   Mark J. Langer, Clerk

                                                          BY:      /s/
                                                                   Tatiana A. Magruder
                                                                   Deputy Clerk

The following forms and notices are available on the Court's website:

         Civil Docketing Statement Form
